            Case 2:03-cr-00103-JAM Document 252 Filed 06/24/05 Page 1 of 2


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5
                              UNITED STATES DISTRICT COURT
6
                              EASTERN DISTRICT OF CALIFORNIA
7
                                       SACRAMENTO
8

9
     UNITED STATES OF AMERICA, ,           ) Case No.: 2:03-cr-00103-FCD-8
10                                         )
                 Plaintiff,                ) ORDER TO CONTINUE AND TO EXCLUDE TIME
11                                         )
           vs.                             )
12                                         )
     KHOA DANG TRAN TO,                    )
13                                         )
                 Defendant.                )
14                                         )
            GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that the status conference
15
     hearing currently scheduled for Monday June 27, 2005 is continued to Monday
16
     July 25, 2005 at 9:30 a.m.
17
          IT IS FURTHER ORDERED that the period of delay from June 27, 2005, to
18
     July 25,2005, be excluded for purposes of Speedy Trial Act computations
19
     pursuant to Title 18, United States Code, Sections 3161 (h)(1)(G),
20
     3161(h)(8)(A) and 3161 (h)(8)(B)(iv).   This exclusion provides counsel for
21
     both parties reasonable time necessary for effective preparation and
22
     continuity of counsel.   As such, the Court finds that the ends of justice
23
     outweigh the interest of the public and the defendant in a speedy trial.
24
     Dated: June 24, 2005                      /s/ Frank C. Damrell Jr.
25                                             HON. FRANK C. DAMRELL JR.
                                               United States District Judge

                            ORDER TO CONTINUE AND EXCLUDE TIME
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                   ORDER TO CONTINUE AND EXCLUDE TIME
